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 8                            UNITED STATES DISTRICT COURT
 9                          CENTRAL DISTRICT OF CALIFORNIA
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11    MARIO ROSAS,                                    CASE NO. CV 24-9364 DDP (PVC)
12                         Petitioner,
                                                      ORDER DISMISSING PETITION
13           v.                                       WITH LEAVE TO AMEND
14    FCI LOMPOC II,
15                         Respondent.
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18          On October 29, 2024, Mario Rosas (Petitioner), a federal prisoner proceeding pro
19   se, filed a habeas petition under 28 U.S.C. § 2241. (“Petition,” Dkt. No. 1). Petitioner,
20   who is currently incarcerated at FCI Lompoc II in Lompoc, California, contends that the
21   BOP has failed to apply FSA credit toward early release. (Id. at 2). 1 He names as
22   Respondent the FCI Lompoc facility. (Id. at 1). However, the Petition must be dismissed
23   with leave to amend because Petitioner did not name the proper respondent. 2
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25      For ease of reference, the Court cites to the electronic page numbers assigned by the
     Court’s CM/ECF docketing system.
26     2
        The filing of a petition for writ of habeas corpus is analogous to the filing of a civil
27   complaint. See Williams v. Coyle, 167 F.3d 1036, 1038 (6th Cir. 1999). A Magistrate
     Judge may dismiss a complaint with leave to amend without approval of the District
28   Judge. See McKeever v. Block, 932 F.2d 795, 798 (9th Cir. 1991).
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 1          Pursuant to the federal habeas statute, 28 U.S.C. § 2242, which applies to § 2241
 2   petitions, “there is generally only one proper respondent to a given prisoner’s habeas
 3   petition[, and it is] … ‘the person’ with the ability to produce the prisoner’s body before
 4   the habeas court.” Rumsfeld v. Padilla, 542 U.S. 426, 434–35 (2004); see 28 U.S.C.
 5   § 2242 (requiring a federal habeas petitioner to provide “the name of the person who has
 6   custody over him”) (emphasis added). When a habeas petitioner challenges his present
 7   physical confinement, “the default rule is that the proper respondent is the warden of the
 8   facility where the prisoner is being held, not the Attorney General or some other remote
 9   supervisory official.” Padilla, 542 U.S. at 435. Moreover, “jurisdiction lies in only one
10   district: the district of confinement.” Id. at 443. Accordingly, “[w]henever a § 2241
11   habeas petitioner seeks to challenge his present physical custody within the United States,
12   he should name his warden as respondent and file the petition in the district of
13   confinement.” Id. at 447. Here, because Petitioner failed to name his immediate
14   custodian—the FCI Lompoc II warden —as Respondent, this Court lacks jurisdiction over
15   Petitioner’s habeas petition. See Doe v. Garland, 109 F.4th 1188, 1194–95 (9th Cir.
16   2024) (“[The petitioner’s] failure to name [his immediate custodian as respondent] renders
17   the district court’s exercise of jurisdiction erroneous.”); see also id. at 1199 (“The district
18   court erred in exercising jurisdiction over Doe’s core habeas petition because Doe failed
19   to name his immediate custodian as respondent to his petition ….”).
20
21          If Petitioner wishes to pursue this action, he must file a First Amended Petition
22   within 30 days from the date of this Order. The First Amended Petition shall name as the
23   Respondent the person having immediate custody over Petitioner, i.e., the warden or de
24   facto warden of the facility where he is detained. Petitioner must identify his immediate
25   custodian by name, not simply by title. Petitioner is also urged to use the § 2241 form
26   approved by the Central District (CV-27), a copy of which is attached. See Local Civil
27   Rule 83-16.1 (“A petition for a writ of habeas corpus … shall be submitted on the forms
28   approved and supplied by the Court.”); see also 28 U.S.C. foll. § 2255, Rule 2(c)

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 1   (requiring a federal habeas petition to “substantially follow … a form prescribed by a
 2   local district-court rule”). The First Amended Petition shall be complete and shall bear
 3   both the designation “First Amended Petition” and the case number assigned to this
 4   action, i.e., “CV 24-9364 DDP (PVC).” The First Amended Petition shall not refer in any
 5   manner to the original Petition. See generally 28 U.S.C. foll. § 2255, Rule 2(a)
 6   (describing what must be included in a federal habeas petition).
 7
 8          Petitioner is explicitly cautioned that the failure to file timely a First Amended
 9   Petition will result in a recommendation that this action be dismissed with prejudice for
10   failure to prosecute, pursuant to Federal Rule of Civil Procedure 41(b). If Petitioner no
11   longer wishes to pursue this action, he may use the attached form Notice of Dismissal and
12   voluntarily dismiss this action without prejudice.
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14          IT IS SO ORDERED.
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17   DATE: November 7, 2024
18                                              PEDRO V. CASTILLO
                                                UNITED STATES MAGISTRATE JUDGE
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